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 5                            UNITED STATES DISTRICT COURT
 6                                     DISTRICT OF NEVADA
 7

 8    UNITED STATES OF AMERICA,                      )
                                                     ) 2:10-cr-547-RLH-RJJ
 9                    Plaintiff,                     )
                                                     )
10                    vs.                            ) COMPLEX CASE
                                                     ) SCHEDULE
11    NICHOLAS GHAFOURIA, et al.                     )
                                                     )
12                    Defendant.                     )
                                                     )
13

14                                                Certification

15           Pursuant to LCR 12-1, undersigned counsel hereby certifies that this response is filed

16    in a timely manner. The Honorable Robert J. Johnston declared this case complex on November

17    19, 2010. The Court Ordered that the Proposed Complex Case Schedule be filed not later than

18    December 17, 2009.

19                                   Proposed Complex Case Schedule

20           Pursuant to LCR 16-1(a)(2) of the Local Rules of Practice for the District of Nevada, the

21    United States, by and through the United States Attorney for the District of Nevada, and the

22    defendant, by and though counsel, submit the following proposed case schedule and disclosure

23    agreement for this Court’s consideration.

24                                           Statement of Intent

25           The purpose of the Joint Discovery / Complex Case Scheduling Agreement is to provide a

26    predictable framework for pre-trial disclosure of information, to establish a method for resolution
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 1    of discovery disputes without the need for Court intervention, and to provide a means for the well-

 2    informed and efficient resolution of this case. The Joint Discovery Agreement is not intended to

 3    create remedies not otherwise available to the parties under the U.S. Constitution, statute or the

 4    Federal Rules of Criminal Procedure. Nor is it intended to serve as a basis for allegations of

 5    misconduct or other claims for relief.

 6                                              Discovery Schedule

 7    A.      No later than Friday, December 17, 2010, the government will disclose to the defendant

 8    an initial disclosure package which will consist of summaries of post arrest statements of all the

 9    defendants. A substantial amount of information concerning the case has been disclosed in two

10    detailed complaints filed in this matter. Plea offers will be submitted shortly thereafter to all

11    defendants who request them.

12    B.      If, upon reviewing the initial disclosure materials and conferring with counsel, the

13    defendant elects to proceed to trial, the government will disclose and/or permit defense counsel to

14    examine other case-related materials within a second round of disclosure, to be completed not

15    later than January 28, 2011, subject to exceptions as noted infra. Materials covered within this

16    second round of disclosure shall include items related to the overall investigation.

17    C.       Not later than March 11, 2011 the government will provide the defendant with reports,

18    statements, memoranda and / or plea agreements (if applicable) of any confidential informants /

19    cooperating defendants whose testimony is anticipated at trial. It is further stipulated that not later

20    than this date:

21             1.       All parties will provide expert disclosures as required under Rules 16(a)(1)(G) and

22                      (b)(1)(C), Federal Rules of Criminal Procedure.

23                      2.     Defendant will disclose all documents, objects, and reports of examination

24                             required under Rules 16(b)(1)(A) and (B), Federal Rules of Criminal

25                             Procedure.

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 1                   3.      Defendant will provide notice of any defenses under Rule 12.1, Federal

 2                           Rules of Criminal Procedure.

 3    D.     It is proposed that Pre-trial motions shall be due on March 25, 2011, with responses due by

 4    April 8, 2011. Defense counsel shall have until April 15, 2011 to file any replies.

 5    E.     It is proposed that trial be set for May 2, 2011.

 6    F.     Any party withholding the disclosure of items subject to this agreement will provide notice

 7    to the other party of the intent to withhold disclosure and describe the nature of the item and the

 8    basis for withholding disclosure.

 9    G.     It is further stipulated between the parties that, pursuant to 18 U.S.C. § 3161, the time

10    period from the defendant’s arraignment until his proposed trial date of May 2, 2011 shall count as

11    excludable delay pursuant to subsections 3161(h)(1)(F) and (8)(A) as this time period will be used

12    to develop and litigate any potential pre-trial motions, and the case is sufficiently complex, due to

13    the nature of the money laundering investigations and the volume of potential disclosure involved,

14    such that failure to grant a continuance would potentially result in a miscarriage of justice.

15                                                Limitations

16           The parties agree that the disclosure deadlines set forth above apply to those objects,

17    documents, items, and other disclosure matters that are in the possession, custody, or control of

18    the parties at the time the obligation to disclose arises. Nothing in this agreement is intended to

19    relieve either party of the continuing duty to provide disclosures up to and through trial as to any

20    matters required to be disclosed by statute, rule, or the United States Constitution. Further,

21    nothing in this agreement is intended to limit, or in any way affect, the determination of

22    admissibility of evidence at trial or otherwise restrict or expand the remedies available to the

23    Court for any breach of disclosure obligations as set forth in Rule 16(d).

24                             Duty to Resolve Discovery Matters Informally

25           The parties further acknowledge a duty to make good faith efforts to meet and confer with

26    each other to resolve informally any dispute over the scope, manner and method of disclosures

                                                        3
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 1    before seeking relief from the Court. A breach of the duty to meet and confer, by either party,

 2    may serve as the basis to grant or deny any subsequent motion for appropriate relief made before

 3    the Court.

 4                             DATED this 17th    day of December, 2010.

 5

 6    /s/ Daniel J. Albregts                                /s/ Patrick Walsh

 7    __________________________                            ____________________________
      Daniel J. Albregts, Esq.                              PATRICK WALSH
 8    Counsel for Cathleen Renney                           Assistant United States Attorney

 9
      /s/ Chad A. Bowers                                    /s/ William H. Brown
10    __________________________                             __________________________
      Chad A. Bowers, Esq.                                  William H Brown, Esq.
11    Counsel for Jonathan Gattenby                         Counsel for Shannon Walker

12
      /s/ Shari Kaufman                                     /s/ Karen A. Connolly
13    __________________________                             __________________________
      Shari Kaufman, Esq.                                   Karen A. Connolly, Esq.
14    Counsel for Scott Thompson                            Counsel for Ernest Gallagher

15
      /s/ Angela H. Downs                                   /s/ Craig W. Drummond
16    __________________________                             __________________________
      Angela H. Dows, Esq.                                  Craig W Drummond, Esq.
17    Counsel for Kimberly Crawford                         Counsel for Trevor Cunningham

18
      /s/ Benjamin C. Durham                                /s/ Thomas A. Ericcson
19    __________________________                             __________________________
      Benjamin C. Durham, Esq.                              Thomas A. Ericsson, Esq.
20    Counsel for Cinthia Morgan Spoonts                    Counsel for Jodaci Vogel

21
      /s/ Kevin Fitzgerald                                  Osvaldo E. Fumo
22    __________________________                            __________________________
      Kevin Fitzgerald, Esq.                                Osvaldo E. Fumo, Esq.
23    Counsel for BJ Griffith                               Counsel for Demetha L Brown Jackson

24    /s/ James Harsell                                     /s/ Krystallin D. Hernandez
      __________________________                             __________________________
25    James Hartsell , Esq.                                 Krystallin D Hernandez, Esq.
      Counsel for Alfred Jones                              Counsel for Shawn Newkirk
26

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 1    /s/ Kalani K. Hoo                               /s/ Terrence M. Jackson
      __________________________                       __________________________
 2    Kalani K. Hoo, Esq.                             Terrence M. Jackson, Esq.
      Counsel for Melissa Cue                         Counsel for Ki Yong Parker
 3

 4    /s/ Michael P. Kimbrell                         /s/ Todd M. Leventhal
      __________________________                       __________________________
 5    Michael P. Kimbrell, Esq.                       Todd M. Leventhal, Esq.
      Counsel for Daniel Stevens                      Counsel for Jon Horsley
 6

 7    /s/ Jess R. Marchese                            /s/ Gary L. Myers
      __________________________                       __________________________
 8    Jess R. Marchese, Esq.                          Gary L. Myers, Esq.
      Counsel for John Covich                         Counsel for Jacob McLaughlin
 9

10    /s/ Michael Ryan Pandullo                       /s/ Shawn R. Perez
      __________________________                       __________________________
11    Michael Ryan Pandullo, Esq.                     Shawn R. Perez, Esq.
      Counsel for Taylor Hill                         Counsel for Harley Rice
12

13                                                    /s/ Jonathan Powell
      __________________________                       __________________________
14    Thomas F. Pitaro, Esq.                          Jonathan Powell, Esq.
      Counsel for Nicholas Ghafouria                  Counsel for John Skoog
15

16    /s/ Chris T. Rasmussen                          /s/ Randall J. Roske
      __________________________                       __________________________
17    Chris T. Rasmussen, Esq.                        Randall J. Roske, Esq.
      Counsel for BJ Griffith                         Counsel for Anthony Diaz
18
      /s/ Richard E. Tanasi                           /s/ Bret Whipple
19    __________________________                       __________________________
      Richard E. Tanasi, Esq.                         Bret Whipple, Esq.
20    Counsel for Frankie Dupuis                      Counsel for Andrey Ariza

21
      /s/ Mace Yampolsky
22    __________________________
      Mace Yampolsky, Esq.
23    Counsel for Kevin Gonzales
                                                      IT IS SO ORDERED.
24                                                    ___________________________
25                                                    UNITED STATES MAGISTRATE JUDGE
                                                      DATE: DEC. 20, 2010
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